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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE R. BROOKE JACKSON


Civil Action:          16-cv-03000-RBJ                      Date: September 24, 2018
Courtroom Deputy:      Julie Dynes                          Court Reporter: Sarah Mitchell

                       Parties                                            Counsel

PATRICE STEPHENSON-LICCIARDI                                         Scott W. Wellman
                                                                     Chris A. Wellman
                                                                    Katherine M. Windler
                       Plaintiff

v.

WILLIAM COOPER                                                        Andrew C. Efaw
CLAUD BAYS                                                           Kevin D. Homiak
MICHAEL BONNET                                                        Ellen E. Herzog
STEVEN HAKE                                                          Stephen J. Hensen
USA                                                                   W. Dean Carter
                                                                        Jacob Licht
                       Defendants


                                   COURTROOM MINUTES


JURY TRIAL DAY TEN

Court in Session: 9:01 a.m.

Jury escorted not present.

Discussion held on witness Dr. John Greenlee.

Jury present.

Defense witness, Dr. Joshua Visitacion, called and sworn.

9:04 a.m.       Direct examination of Dr. Visitacion by Mr. Efaw.
                Exhibit P6 is admitted.
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9:33 a.m.     Examination of Dr. Visitacion by Mr. Hensen.

9:40 a.m.     Cross examination of Dr. Visitacion by Scott Wellman.

9:49 a.m.     Redirect examination of Dr. Visitacion by Mr. Efaw.

Defense witness, Dr. Jeffrey Rothschild, called and sworn.

9:51 a.m.     Direct examination of Dr. Rothschild by Mr. Efaw.
              Exhibit N3 is admitted.

10:02 a.m.    Cross examination of Dr. Rothschild by Scott Wellman.

10:18 a.m.    Redirect examination of Dr. Rothschild by Mr. Efaw.

10:28 a.m.    Recross examination of Dr. Rothschild by Scott Wellman.

10:31 a.m.    Court in recess – jury escorted out.
10:41 a.m.    Court in session – jury escorted in.

Defendant, Dr. Claud Bays, called and sworn.

10:43 a.m.    Direct examination of Dr. Bays by Mr. Homiak.

11:40 a.m.    Examination of Dr. Bays by Mr. Hensen.

11:47 a.m.    Cross examination of Dr. Bays by Scott Wellman.

11:56 a.m.    Court in recess – jury escorted out.
1:06 p.m.     Court in session – jury escorted in.

1:08 p.m.     Continued cross examination of Dr. Bays by Scott Wellman.
              Exhibit 2 is admitted.

1:38 p.m.     Redirect examination of Dr. Bays by Mr. Homiak.

1:44 p.m.     Recross examination of Dr. Bays by Scott Wellman.

Defendant, Michael Bonnet, P.A., called and sworn.

1:46 p.m.     Direct examination of Mr. Bonnet by Ms. Herzog.

2:07 p.m.     Examination of Mr. Bonnet by Mr. Hensen.
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2:09 p.m.     Cross examination of Mr. Bonnet by Scott Wellman.

2:27 p.m.     Redirect examination of Mr. Bonnet by Ms. Herzog.

Defendant, Dr. Steven Hake, called and sworn.

2:28 p.m.     Direct examination of Dr. Hake by Mr. Hensen.
              Exhibits F3 and J4 are admitted.

2:57 p.m.     Court in recess – jury escorted out.
3:10 p.m.     Court in session – jury escorted in.

3:11 p.m.     Continued direct examination of Dr. Hake by Mr. Hensen.

3:19 p.m.     Cross examination of Dr. Hake by Scott Wellman.

Jury excused, to return tomorrow morning at 9:00 a.m.

Discussion held on witnesses to be called tomorrow and jury instructions.

Court in Recess: 4:03 p.m.           Trial continued.             Total time in Court: 05:29
